             Case: 1:13-cr-00028-SSB Doc #: 70 Filed: 03/16/15 Page: 1 of 1 PAGEID #: 277
AO 247 (Rev. 11/11) Order Regarding Motion for Sentence Reduction Pursuant to 18 U.S.C. §3582(cX2)       Page Iof2(Page 2Not for Public Disclosure)

                                      United States District Court
                                                                      for the

                                                          Southern District of Ohio

                   United States of America
                                 v.

                     Moises Solano-Devalos
                                                                             Case No:       l:13-CR-028-02
                                                                             USMNo:         70916-061
Date of Original Judgment:                      02-24-2014
Date of Previous Amended Judgment:                                       ) Gordon G. Hobson, Esq.
(Use Date ofLast AmendedJudgment ifAny)                                      Defendant's Attorney

                 ORDER REGARDING MOTION FOR SENTENCE REDUCTION
                                         PURSUANT TO 18 U.S.C. § 3582(c)(2)
         Upon motion of X the defendant O the Director of the Bureau of Prisons O the court under 18 U.S.C.
§ 3582(c)(2) for a reduction in the term of imprisonment imposed based on a guideline sentencing range that has
subsequently been lowered and maderetroactive by the United States Sentencing Commission pursuant to 28 U.S.C.
§ 994(u), andhaving considered suchmotion,andtaking into account the policy statement set forth at USSG §1B1.10
andthe sentencing factors set forth in 18U.S.C. § 3553(a), to the extent that they are applicable,
IT IS ORDERED that the motion is:
          O DENIED, x GRANTED and the defendant's previously imposed sentence of imprisonment (as reflected in
the lastjudgment issued) of 108 months       months is reduced to               87 months              .
                                           (Complete Parts I and IIofPage 2 when motionis granted)




Except as otherwise provided, all provisions of the judgment dated                       02-24-2014         shall remain in effect.
IT IS SO ORDERED.


Order Date:            March lb. 2015                                            /
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                                                                                           Judge s signatw

Effective Date:        November 1,2015                                           Sandra S. Beckwith, Senior District Judge
                    (ifdifferentfrom order date)                                                Printed name and title
